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                                                       FILED: July 18, 2013


                  UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT

                            ___________________

                                No. 12-4563 (L)
                            (1:11-cr-00530-CMH-2)
                             ___________________

UNITED STATES OF AMERICA

           Plaintiff - Appellee

v.

COREY THOMAS JONES

           Defendant - Appellant

                            ___________________

                                  No. 12-4565
                            (1:11-cr-00530-CMH-1)
                             ___________________

UNITED STATES OF AMERICA

           Plaintiff - Appellee

v.

WILLIAM LOUIS COLE, JR.

           Defendant – Appellant
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                              ___________________

                                JUDGMENT
                              ___________________

      In accordance with the decision of this court, the judgment of the district

court is affirmed.

      This judgment shall take effect upon issuance of this court's mandate in

accordance with Fed. R. App. P. 41.

                                       /s/ PATRICIA S. CONNOR, CLERK
